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IN THE UNITED sTATEs DISTRICT coURT
FoR THE NoRTHERN I)IsTRIcT or oHIo

 

FEDERAL TRADE COMMISSION,
Petitioner,

v. l\/lisc. No.

FULLY ACCOUNTABLE, LLC, and

sARAH scAvA, l 5:19 mc 21 la

Respondents.

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FEDERAL TRADE COMMISSION’S MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT OF PETITION TO ENFORCE CIVIL
INVESTIGATIVE DEMANDS
The Federal Trade Commission brought this proceeding to enforce civil

investigative demands (CIDs) seeking testimony from Fully Accountable, LLC, and
Sarah Scava, a former employee, as part of its ongoing investigation into Whether
Fully Accountable and related persons and entities may be engaged in acts or
practices that violate the FTC Act.

This is not the first time the Commission has had to sue Fully Accountable to

compel it to comply With process. Earlier this year, the Cornmission filed a similar

 

 

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enforcement proceeding against the company after it failed to comply With a CID
seeking documents and interrogatory responses See FTC v. Fully Accountable,
LLC, No. 5:18-mc-00054-SL (N.D. Ohio filed June 8, 2018) [hereinafter “Fully
Accoun.to,ble l”]. The Commission prevailed When, after proceedings before
Magistrate Judge George Limbert, the Court issued an order enforcing the FTC’s
CID and requiring Fully Accountable to produce all responsive information.

Fully Accountable’s production to the FTC in connection With the Fully
Accoimtable I enforcement order contained numerous deficiencies and
inconsistencies After prompting the FTC, the company provided corrected or
expanded supplemental responses to several specifications To determine Whether
Fully Accountable had fully complied as directed, and to move the investigation
forward, the Com_rnission issued the two CIDs fortestimony that are at issue in this
proceeding

Neither recipient has complied. Instead, both CIDs have been the subject of
failed challenges. For Fully Accountable’s CID, the company itself petitioned the
Commission to limit or quash (“petition to quash”) the CID. For Sarah Scava, a non-
party called EleVated Health LLC filed a similar petition to quash. After detailed
review, the Commission denied both petitions in a reasoned, 7-page opinion and
ordered both Fully Accountable and Ms. Scava to comply.

They refused. Instead, Fully Accountable filed a “Petition to Enforce Petition
to Quash or Limit” in Fully Accoimto;ble I. This filing raises a preenforcement

challenge to the Commission’s Cle, effectively asking the Court to overturn the

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Commission and quash the CIDs. As the Commission explains in its opposition
papers filed in that case, that challenge is procedurally improper and thus invalid
on its face. Instead, the Court can decide these issues only as part of enforcement
proceedings brought by the Commission, Which this instant proceeding is

Pending resolution of Fully Accountable’s preenforcement challenge-,
Respondents state they will not comply With the CIDs. Because Respondents’
refusal impedes the FTC investigation, the Commission therefore respectfully asks
this Court to grant the Commission’s enforcement petition and to direct Fully
Accountable and Sarah Scava to appear and provide testimony on the specified
topics Within 10 days from the date of the Court’s order.
I. Factual Background l

A. The FTC’s Investigation

This case arises from an ongoing FTC investigation and a related CID
enforcement proceeding See Fu,_lly Accountoble I .1 In 2017, the Commission
commenced an investigation of Fully Accountable and related individuals and
entities examining “back office” services it provided to two groups of companies
Pet. Ex. 1, 1111 3, 5-6. The first group, called the “Group A Entities,” consisted of a
collection of firms that marketed Various health-related supplements online. Id., 1[
5. The second, called the “Group B Entities,” consisted of a series of businesses that
also engaged in online marketing of consumer products and that appeared to be

related to each other and to Fully Accountable. Id., 11 6. The Commission’s

 

1 The Commission is filing a notice of related case identifying this matter.

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investigation focused on Fully Accountable’s role as a provider of services to these
groups in connection With their activities in marketing products and charging
consumers Id., 1[1] 5~6.

As part of this investigation, the Commission issued a CID to Fully
Accountable on September 21, 2017. Id., 11 7. That CID Was authorized by no fewer
than three separate Commission resolutions including (1) a resolution addressing
false or misleading advertising of health-related products; (2) a resolution
addressing online marketing and sales; and (3) `a resolution addressing charging
consumers Without authorization Id., 111 8-10; Fully Accountable l, Doc. 1-2 at 21-
23.2 In addition, the CID itself included a “Subject of lnvestigation” notice that
summarized the authority afforded by these resolutions and applied it to Fully
Accountable. This “Subject of Investigation” stated that the Commission was
investigating

[W]hether Fully Accountable, the Group A Entities, or the Group B

Entities . . . and related entities or individuals have made or participated in

making, in any respect, false, misleading, or unsubstantiated representations

in connection With the marketing of consumer products, in Violation of

Sections 5 and 12 of the Federal Trade Commission Act (“FTC Act”), 15

U.S.C. §§ 45 and 52, or have engaged in deceptive or unfair acts or practices

by charging or participating in the charging, in any respect, for consumer

products Without consumers’ authorization, in violation of Section 5 of the

FTC Act, and whether Commission action to obtain monetary relief would be
in the public interest.

Fully Accountable I, Doc. 1-2 at 7.

 

2 Citations to docket entries are to page numbers in ECF-added headers.

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B.` The 2018 Enforcement_Proceeding (Fully Accountable I) _

Fully Accountable did not comply With the September 2017 ClD, despite
multiple conversations and exchanges of correspondence With staff, including a
modification of the CID’s deadlines at Fully Accountable’s request. Although the
company produced some limited interrogatory responses it produced no documents
whatsoever, refused to answer other interrogatories and Withheld information
based on spurious claims of confidentiality Pet. Ex. 1, 11 11; Fully Accounto;ble I,
Doc. 1-1, Att. 1.

Accordingly, on June 8, 2018, the Commission instituted in this Court a
proceeding to enforce the CID. Pet. Ex. 1, 11 11; Fully Accountable I, Doc. 1 et seq.
That proceeding resulted in an Order by Judge Lioi enforcing the CID and directing
Fully Accountable to comply in full by August 23,l 2018. Fully Accountable I, Doc.
14. Fully Accountable did not file any legal objection or opposition to the
Commission’s petition or to the Court’s order at any point in that proceeding Pet.
Ex. 1, 11 12. l

Fully Accountable produced,additional information to the Commission as a
result of the proceeding, and on August\23, 2018, provided a certificate claiming it

had complied in full with the CID. Pet. Ex. 1, 11 13.

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C. The 2018 CIDs For Testimony

FTC staff has identified several deficiencies and inconsistencies in this

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See the Declaration of Harris Senturia dated February 1, 2019, Pet. Ex. 1, for
a more detailed discussion of the deficiencies and inconsistencies identified

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Faced With these and other deficiencies and inconsistencies the FTC
therefore needed to assess if Fully Accountable had indeed complied with the
Court’s Order. The FTC also sought to move the investigation forward by gathering

additional evidence. To accomplish these aims on September 10, 2018, the

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Commission issued two additional CIDs seeking only testimony - one to Fully
Accountable for testimony from the entity and one to Sarah Scava, a person the
FTC identified as a former employee of Fully Accountable, for testimony based on
her personal knowledge. Pet. Ex._l, 1111 15, 19.

D. The Petitions_ To Limit Or Quash

 

Neither Fully Accountable nor Ms. Scava complied with these Cle. lnstead,
on October 5, 2018, Fully Accountable filed With the Commission a petition to quash

the CID it received Pet. EX. 4; Pet. EX. 1,' 11 26. 'l‘hat same day, Elevated Health, a

non-party, filed With the Commission a similar petition to quash the CID directed to
l\/ls. Scava. Pet. EX. 5; Pet. Ex. 1, 11 27.

ln its petition to quash, Fully Accountable first objected to CID specifications
6 and 7 asking for testimony about the company’s relationship With Elevated
Health and with l\/ls. Scava. Fully Accountable claimed that neither of these Were
included among Fully Accountable, the Group A Entities or Group B Entities, or
persons related thereto, and thus the specifications called for irrelevant information
outside of the scope of the investigation Pet. Ex. 4 at 5-6. Fully Accountable then
challenged specifications 3, 4, and 5 that called for, respectively, testimony
regarding Fully Accountable’s efforts to comply With the original 2017 CID, its
efforts to prevent the disposal of information potentially responsive to that CID, and
its records management systems particularly for electronically-stored information.
- Fully Accountable claimed that it has already provided this information and that

this Was outside of the scope of the investigation and irrelevant Id. at 7. Finally,

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Fully Accountable claimed that specifications 1 and 2, Which called for testimony
about the interrogatories and documents it produced in response to the original
CID, Were burdensome because they were duplicative to its production. Id. at 8-9.

The CID to Sarah Scava included 13 specifications that sought testimony on
subjects including, but not limited to, Ms. Scava’s Work with Fully Accountable; the
formation and business of Elevated Health; the relationship between Fully
Accountable and Elevated Health; the relationships between Elevated Health and
several other relevant entities the relationships among Ms. Scava, Elevated
Health, and the principals and managers of Fully Accountable; and any work l\/Is.
Scava performed for the Group A Entities and Group B Entities. Pet. EX. 3 at 6-7.

Elevated Health’s petition to quash this CID raised multiple objections to
each specification These claims can be grouped into three basic challenges (1) the
CID was unreasonable because l\/[s. Scava was no longer involved With Elevated
Health; (2) the CID called for information about entities and individuals that were
outside of the scope of the investigation and thus irrelevant; and (3) the CID’s
request for in-person testimony Was burdensome and l\/ls Scava should be
permitted to respond through written answers to the Commission’s questions Pet.
EX. 5 at 10-17.

E. The Commission’S Order

By order dated November 19, 2018, the Commission denied both petitions
Pet. Ex. 6; Pet. EX. 1, 11 28. First, under the broad and relaxed standard for

relevance in administrative investigations the Commission rejected Fully

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Accountable’s claim that the requests for testimony from the company about Sarah
Scava and Elevated Health Were irrelevant to the investigation Pet. Ex. 6 at 4. As
the Commission held, “Specifications 6 and 7 plainly and obviously relate to the
FTC’s investigation into Fully Accountable and its relationships with its clients
affiliates and related companies and individuals.” Id. The Commission also found
no merit in Fully Accountable’s objections to specifications 3, 4, and 5 exploring the "
company’s response to the original ClD and its document management processes
The Commission found these relevant to the investigation “particular[ly] . . . where
Fully Accountable’s responses to the earlier CID made its own document
management a key issue and required the Commission to seek judicial
intervention.” Id. at 4-5. The Commission continued, “Indeed, the procedures that a
company has adopted - or failed to adopt _ in documenting its business practices as
Well as its efforts to respond to process are relevant in any investigation.” Id`. at 5
(emphasis in original). Finally, the Commission rejected the claim that
specifications 1 and 2 created an undue burden to Fully Accountable. lt found that
the company provided no such support for any claim of undue burden, and even so,
the practical advantages to the Commission of obtaining such testimony outweighed
any burden Id. at 5-6.

Turning to Elevated Health’s petition, the Commission determined that this
petition_filed by an admitted non-party_was not properly before the Commission.
Applying the relevant provision of the FTC Act, the Commission found no right by a

non-recipient of process to file such a petition Id. at 6. The Commission also held

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that Elevated Health’s petition failed to comply with two of the Commission’s rules
of practice, either of which provided sufficient grounds to deny review. Id. Even so,
the Commission reviewed the substance of Elevated Health’s claims but found them
to lack any merit. The Commission ruled that the topics in the ClD to l\/ls. Scava
Were relevant to the investigation, that it was entirely proper to seek testimony
from an entity’s former employes and finally, that the Commission was “well
within its rights” to pursue testimony in lieu of written responses Id. at 7 .
Accordingly, the Commission denied both petitions lt directed Ms. Scava to
appear for testimony on November 29, 2018, and Fully Accountable to appear the
following day, November 30, 2018.4 Id. By email dated November 28, counsel for
lVls. Scava and Fully Accountable informed FTC staff of its filing in Fu,lly
Accountable I, see Doc. 21, and further confirmed that neither would appear as
ordered: “At this time we will not be scheduling a hearing for Sarah Scava or Fully
Accountable until the determination is made by the Court.” Pet. Ex. 7 at 1.
ll. Argument
For the reasons shown below, the Commission is entitled to judicial
enforcement of its Cle. The Commission’s Cle unequivocally meet the test for
enforcement of process established by the Supreme Court in cases such as Un.ited

States U. Morton Salt Co., 333 U.S. 632 (1950) and by the Sixth Circuit in cases such

 

4 The Commission’s Order granted its staff the flexibility to modify the date,
time, and location of testimony. Pet. Ex. 6 at 7. By email dated November 26,
counsel for Fully Accountable and Sarah Scava requested modifications to the

dates Commission staff immediately agreed to work on negotiating new dates to no
avail. Pet. Ex. 1, 11 29; Pet. Ex. 7 at 1-2.

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as Doe 1). United States, 253 F.3d 256 (6th-Cir. 2001). None of the claims raised by
Fully Accountable or non-party Elevated Health call into question the Commission’s
order or provide any basis to deny enforcement. Accordingly, this Court Should
grant the Commission’s petition to enforce the Cle and enter an order requiring
Fully Accountable and Ms Scava to appear and provide testimony on the specified
topics within 10 days See 15 U.S.C. § 57b-1(h)

A. The Standards For Enforcement Of Agency Process Require
Enforcement Of The FTC’s 2018 CIDS.

“[A] district court’s role in the enforcement of an administrative subpoena is a
limited one.” United States 1). Markwood, 48 F.Bd 969, 976-77 (6th Cir. 199'5)
(discussing, inter alia, Oklahomo, Press Pu,blishing Co. v. Walling, 327 U.S. 186,- 209
(1946) and Um`ted Sto:tes v. Morton Salt Co., 338 U.S. 632, 652-53 (1950)). “[W]hile
the court’s function is ‘neither minor nor ministerial,’ the scope of the issues which
may be litigated in an enforcement proceeding must be narrow, because of the
important governmental interest in the expeditious investigation of possible
unlawful activity.”lMarkwood, 43 F.3d at 979 (quoting FTC' v. Texaco, Inc., 555 F.2d
862, 872-7 3 (D.C. Cir. 197 7) (en banc)) (citations omitted); accord Doe v. United
Sto,tes 253 F.3d 256, 262-63 (6th Cir. 2001); FTC u. Winters Nat’l Bank & Trust Co.,
601 F.2d 395, 403 (6th Cir. 197 9) (noting “the strong policy upholding the validity of
the exercise of’ the FTC’s subpoena powers).

Thus, a district court must enforce agency investigative process so long as the

inquiry “’is within the authority of the agency, the demand is not too indefinite and

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the information sought is reasonably relevant.’ ln other words the agency request
must be reasonable.” See Doe, 253 F.3d at 263 (quoting Morton Salt, 338 U.S. at
652-53) (internal quotation marks omitted); accocml Winters Nat’l Ban,k, 601 F.Zd at
398.

'l‘he Cle at issue satisfy all the standards governing enforcement of FTC
compulsory process They are well within the Commission’s authority, were
properly issued, seek information relevant to the Commission’s investigation, and

- are neither indefinite nor unreasonable.
1. The CIDs Are Within The Commission’s Authority.

'l‘he Commission lawfully and properly issued the Cle at issue as part of an
investigation into whether Fully Accountable and associated entities and
individuals have violated thel FTC Act. The Commission issued the Cle under
Section 20 of the FTC Act, 15 U.S.C. § 57b-1, which authorizes the Commission to
issuer Cll)s “[w]henever the Commission has reason to believe that any person may
be in possession custody, or control of any documentary material or tangible things
or may have any information, relevant to unfair or deceptive acts or practices” 15
U.S.C. § 57b-1(c)(1). The Commission acted under valid agency resolutions
authorizing the issuance of compulsory process to investigate the very types of
conduct at issue here. Pet. Ex. 1, 1111 8-10, 21. Finally, the Commission issued and
served the Cle consistent with all governing requirements Id. at 22; see also 15

U.S.C. §§ 57b-1(c)(2), (c)(6), (c)(7), (c)(8), (c)(9); 16 C.F.R. §§ 2.7, 4.4(a)(3).

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2. The Information Sought ls Relevant To The Commission’s
lnvestigation.

The purpose of an FTC investigation is to learn whether there is reason to
believe that the law has been, or is being, violated and, if so, whether the issuance
of a complaint would be in the public interest. lndeed, the F’l‘C “can investigate
merely on suspicion that the law is being violated, or even just because it wants
assurance that it is not.” Texaco, 555 F.2d at 872 (quoting Morton Salt, 333 U.S. at
642-43). A ClD is not limited to seeking information necessary to prove specific
charges; to the contrary, a Cll) is held to a more “relaxed” standard and may call for
documents and information that are relevant “to the investigation”_ a boundary
that may be broadly and “generally” defined by the agency, FTC 'v. In,ven,tion
Submission, Corp., 965 F.2d 1086, 1090 (D.C. Cir. 1992). l

The resolutions in this case are consistent with other FTC resolutions that
provide a general description of the conduct at issue against Which to measure
relevance. See id. at 1088, 1090 (finding sufficient for relevance purposes a
resolution authorizing investigation of “false or misleading representations made in
connection with the advertising, offering for sale and sale of services related to the

promotion of inventions or ideas.”).5 Collectively, they enable the Commission to use

 

5 Accord FTC v. Carter, 636 F.2d 731, 784, 787-88 (D.C. Cir. 1930) (finding
sufficient a resolution authorizing investigation of “unfair or deceptive acts or
practices . . . in the advertising, promotion, offering for sale, sale, or distribution of
cigarettes”); Texaco, 555 F.2d at 868, 874-76 & n.26 (finding sufficient a resolution
authorizing investigation of reporting of natural gas reserves in southern Louisiana
as well as the conduct “relating to the exploration and development, production, or

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process to investigate false or misleading advertising, online marketing, and unfair
charging of consumers without authorization Pet. EX. 1, 11 3-10; Pet. EX. 2 at 9-11;
Pet. Ex. 3 at 10-12. Further, each of the resolutions provides for the issuance of
process to “unnamed persons partnerships corporations” a phrase the Commission
uses to empower staff to investigate targets whose identities may not be known at
the outset of an investigation or who may be identified during the course of an
investigation Pet. Ex. 2 at 9-11; Pet. Ex. 3 at 10-12.

The Commission’s authority and the scope of the investigation as it applied to
`Fully Accountable was then summarized in a “Subject of lnvestigation” statement
provided in each CID. That statement informed Fully Accountable and l\/ls. Scava
that the Commission was investigating “[w]hether Fully Accountable, the Group A
Entities, or the Group B Entities . . . and related entities or individuals” have
engaged in conduct in violation of Sections 5 or 12 of the FTC Act. Pet. Ex. 2 at 5;
Pet. Ex. 3 at 5 (emphasis added).

The information sought by the Cle is directly relevant to the three
investigational resolutions and thus to the Commission’s investigation For
example, specifications 6 and 7 in the ClD to Fully Accountable seeking information
about the company’s relationships with l\/ls. Scava or Elevated Health plainly relate
to the investigation of “related entities or individuals,” in the words of the Subject of

lnvestigation, or the “unnamed persons partnerships or corporations” described in

 

marketing of natural gas petroleum, and petroleum products and other fossil
fuels”).

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each of the resolutions Pet. Ex. 1, 11 18. The remaining specifications in that ClD
also relate “to the investigation” because they explore whether Fully Accountable
complied sufficiently with both the Commission’s original ClD and this Court’s
order by producing the information requested, or Whether the comp any failed to
produce or preserve potentially responsive information. Pet.lEx. 1, 11 17. lndeed, as
the Commission held, information about a party’s compliance with document
production and preservation obligations Would be relevant to any investigation Pet.
' Ex. 6 at 5.

The ClD to l\/ls. Scava is similarly relevant to the present investigation The
various specifications in that ClD explore l\/ls. Scava’s knowledge about Fully
Accountable and Elevated Health and the relationships between and among l\/ls.
Scava, these entities and other companies and individuals connected to Fully
Accountable. Pet. Ex. 1, 1[ 20. As such, these plainly relate to the “Subject of
lnvestigation” and the three authorizing resolutions

3. The Cle Are Neither lndefinite Nor Unreasonable.

A ClD is sufficiently definite when it describes the required information such
“that a person can in good faith understand which documents must be produced.”
RTC v. Greif, 906 F. Supp. 1446, 1452 (D. Kan. 1995) (citing In re Grand Jary
Proceedings 601 F.2d 162 (5th Cir.1979)); cf. 15 U.S.C. § 57b-1(c)(3)(A) (FTC Cle
for documents must identify the material to be produced “with such definiteness

and certainty as to permit such material to be fairly identified.”). The Cle here

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meet this definition because all of their specifications and definitions are plainly
expressed and easily understandable. Cf. Pet. Ex. 2 at 6; Pet. Ex. 3 at 6-7.

The Cll)s are also reasonable. Typically, reasonableness in this context refers
to providing a reasonable time to respond See 15 U.S.C. § 57b-1(c)(3)(B). Here, the
Cle were issued on September 10, 2018 with a return dates of October 11 (for l\/ls
Scava) and October 12 (for Fully Accountable), thus providing more than 30 days to
prepare and respond Pet. Ex. 2 at 3; Pet. EX. 3 at 3. FTC staff further attempted to
accommodate both recipients by communicating their counsel to discuss dates and
times for testimony. Pet. Ex. 1, 1111 23-25. lndeed, in response to an expressed
concern that lVls Scava’s appearance for testimony was inconvenient, FTC staff
offered to conduct the hearing on a Saturday and at a location closer to l\/ls. Scava.
Pet. Ex. 1, 11 25. lVls. Scava rejected this offer.

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For these reasons alone, this Court can and should enforce the Commission’s
Cle See Um'ted States 1). Morton Salt Co., 333 U.S. 632, 652-53 (1950)); Doe u.
United States 253 F.3d 256, 262-63 (6th Cir. 2001).

B. Fully Accountable Has lmproperly Withheld Responsive
lnformation.

As the Commission already concluded, Fully Accountable’s excuses for its
failure to appear and provide the requested testimony are meritless These fall into
three categories that specifications 6 and 7 call for information outside of the scope

of the Commission’s investigation; that specifications 3, 4, and 5 are duplicative and

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also call for irrelevant information; and that specifications 1 and 2 are duplicative
and therefore unduly burdensome. Fully Accountable is wrong on each count for the
reasons we discuss below.

1. Specifications 6 And 7 Seek Relevant lnformation Within
The Scope Of The Investigation.

As discussed above, the standard for assessing relevance in an administrative

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investigation is “general|], relaxed,” and more flexible than in civil litigation A
request for information need only relate “to the investigation” to be sufficiently
relevant. Inuention Sabmission, Corp., 965 F.2d at 1090.

Fully Accountable’s claims that specifications 6 and 7 are irrelevant and
outside of the scope of the FTC’s investigation are incorrect. Pet. Ex. 4 at 5-6. These
specifications which ask Fully Accountable to testify about its relationships with
Elevated Health and l\/ls. Scava, plainly relate “to the investigation.” Pet. Ex. 1, 1[
18. As discussed in the “Subject of lnvestigation” statement included with the ClD,
the FTC’s investigation extends to not only the Group A Entities and Group B
Entities but also to “related entities and individuals” Pet. Ex. 2 at 5-6. ldentifying
such “related entities and individuals”-and whether they include Elevated Health,
l\/ls Scava, or some other as-yet-unidentified person or corporation-thus falls well
within the scope of the investigation lt also falls well within the supporting
investigational resolutions each of which authorizes process to determine whether

“unnamed persons partnerships or corporations” may have engaged in various

potential law violations See, e.g., Pet. Ex. 2 at 9-11.

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2. Specifications 3, 4, And 5 Are Within The Scope Of The
lnvestigation And Not Duplicative.

Specification 3 asks Fully Accountable to testify about the efforts it made to
respond to the Commission’s original 2017 ClD. Specification 4 asks the company -

_ for information about its disposal of information potentially responsive to that ClD.
And specification 5 asks the company for testimony about its records management
systems Thus these specifications collectively seek to assess Fully Accountable’s
compliance with the Commission’s original 2017 ClD as well as this Court’s Order
enforcing that ClD. Pet. Ex. 1, 'l[ 17. Fully Accountable' resists these specifications
claiming that they call for information outside the scope of the investigation and
that the company has already produced this information in its responses to the
original 2017 ClD. Pet.` Ex. 4 at 7. Fully Accountable also objects particularly to
specification 5, which it claims impermissibly investigates its “business practices as
a whole.” Id.

These objections are without merit. These specifications relate directly “to the
investigation” and thus are sufficiently relevant. The facts that a company may not
have conducted a diligent search in response to receiving a ClD, that it disposed of
potentially responsive information or that it lacks a records management system
capable of identifying responsive information all bear on the fundamental question
of whether the company has provided the information deemed necessary by the
Commission for its inquiry. That is why the Commission ruled that such

information would be relevant “to any investigation.” Pet. Ex. 6 at 5.

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Nor does Fully Accountable’s document production render testimony from the
entity on the same or similar issues duplicative. The use of testimony to explore the
meaning of a document produced is well established and widely accepted lndeed, in
a. similar context, one court rejected a claim like Fully Accountable’s here:

Sim'ilarly, the availability of an informative document, specifically the

quality control manual, is not the equivalent of corporate testimony

regarding the subject matter of that document To illustrate, a

document can be given differing significance and meaning by different

witnesses but the testimony of a [designated witness] binds the

corporation to the explanation given Moreover, the document at issue

here, a manual, would only provide information as to instructions

guidelines and policies and not, for example, information about how

those instructions guidelines and policies have been implemented

Additional corporate testimony on M & T's quality control process
therefore, would not be duplicative of previous discovery

United States ex rel. Fago v. M&TMort. Corp., 235 F.R.D. 11, 24 (D.D.C. 2006)
(citing In re Vitarnins Antitrast Litig., 216 F.R.D. 168, 174 (D.D.C. 2003)) (citations
omitted; emphasis added).6 Accord Marlzer v. Union Fidelity Life Ins. Co., 125
F.R.D. 121, 126 (M.D.N.C. 1989) (“Because of its nature, the deposition process
provides a means to obtain more complete information and is therefore, favored.”).
This same reasoning applies here; indeed, the ability to seek testimony to further
develop and understand a document production is precisely what the Commission

meant in its opinion when it stated that staff should be permitted “latitude in

 

6 The cited case interprets Fed. R. Civ. P. 30(b)(6), which provides for
deposition of an entity in civil litigation The ClD issued to Fully Accountable

similarly sought testimony from the entity pursuant to the Commission’s own rules
of practice for investigations here, rule 2.7(h). See 16 C.F.R. § 2.7(h).

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taking steps to explore relevant topics by issuing supplemental process and taking
testimony.” Pet. Ex. 6 at 4.

Finally, Fully Accountable’s claim that the Commission may not investigate
its business practices as a whole because they are outside of the scope of
investigation is unsupported and nonsensical. Pet. Ex. 4 at 7. To the extent an
enterprise-wide practice of Fully Accountable relates “to the investigation,” it is
relevant and thus subject to compulsory process Invention Snbmission, 965 F.2d at
1090. The Commission frequently investigates enterprise-wide practices indeed,
each of the Commission’s resolutions in this case identify a potential enterprise-
wide activity as a basis for an investigation

3. Specifications 1 And 2 Are Not Unduly Burdensome.

Finally, Fully Accountable objects to specifications 1 and 2 as unduly
burdensome. These specifications call for testimony about, respectively, the
company’s interrogatory answers and documents produced in response to the
original 2017 Cll). Fully Accountable claims this it is unreasonable to require the
company to reproduce the same information in a different format. Pet. Ex. 4 at 8-9.

This objection is both unsupported and legally incorrect. As the Commission
recognized “the standard for establishing that a ClD imposes an undue burden on
the recipient is a high one .” Pet. Ex. 6 at 5 (emphasis in original). A ClD recipient
must show that the ClD “threatens to unduly disrupt or seriously hinder” its
normal business operations FTC u. Texaco, Inc., 555 F.2d 862, 332 (l).C. Cir, 1977)

(en banc); accord EEOC v. Mary_land Cnp Corp., 785 F.Zd 47_1, 479 (4th Cir. 1936).

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Fully Accountable’s claim of burden presents only the conclusory assertion that
complying With the ClD will require its principals to take time away from their “day
to day work.” Pet. Ex. 4 at 9. This is not enough. See, e.g., Texaco, 555 F.2d at 832
(acknowledging that every ClD presents some degree of burden). lndeed, the burden
of providing this testimony should be modest, considering that Fully Accountable
has already undertaken to gather and produce the underlying documents and
interrogatory responses to the FTC. Nor would testimony about Fully Accountable’s
production of this information be duplicative. See, e.g., M&T Mort. Corp., 235 F.R.D.
at 24.

C. Sarah Scava Has lmproperly Withheld Responsive
lnformation.

Unlike Fully Accountable, l\'ls. Scava did not file a petition to limit or quash
the ClD she received She has thus failed to exhaust her administrative remedies
and waived any challenge she might raise to the ClD before this Court. Even if the
Court were inclined to review the challenges raised by Elevated Health, they lack
merit and provide no basis for denying enforcement.

1. Sarah Scava ls The Correct CID Recipient.

The Commission issued a ClD to Sarah Scava_not to Elevated Health_
seeking her testimony on 13 specified topics. The fact that lVls Scava was the
designated recipient of process is evident from the first page of the ClD, as well as
the accompanying cover letter from the Commission’s Secretary. Pet. Ex. 3 at 1-2, 3.

While Elevated Health attempted to file a petition to limit or quash this ClD, the

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Commission found that was improper because Elevated Health had no such right
under the FTC Act and because Elevated Health had not met and conferred with
staff as required by multiple FTC rules of practice. See Pet. Ex. 6 at 6 (citing 15
U.S.C. 57b-1(f)(1); 16 C.F.R. §§ 2.7(k), 2.10(a)(2)).

ln a recent filing to this Court, l\/ls Scava now claims that Elevated l-lealth’s
petition was filed with the Commission on her behalf “because Elevated Health was
Sarah Scava’s company up and through December 2017 and because service was
received at Elevated’s last known address not Sarah Scava’s address.” See Fnlly
Acconntable I, Doc. 21 at 19. Ms. Scava further claims that the objections raised in
the Elevated Health petition were made for her benefit. Id. At no time, however,
has any evidence supporting this proxy relationship between Ms. Scava and
Elevated Health ever been presented by either of them to the Commission. See, e.g.,
Pet. Ex. 1, 11 27 (Sarah Scava’s counsel “had not informed us that she was
representing Elevated Health in any of our conversations”). This newly-raised claim
also runs counter to the statements in the petition itself which asserted_repeatedly
and incorrectly_that the ClD had been issued to Elevated Health. See, e.g., Pet. Ex.
5 at 3, 4, 5.

Counsel for Ms. Scava also claims that the Commission’s denial of the
petition challenging the ClD to l\/ls. Scava was improper because l\/ls Scava is a
third-party entitled to file such a petition and because counsel sufficiently identified
herself as representing Sarah Scava. See Fnlly Accountable I, Doc. 21 at 19; Doc. 21-

7 at 3. These arguments rest on a number of mistaken premises To be clear, the

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Commission denied the petition to quash from Eleuated Health because Elevated
Health was not the designated recipient of the ClD_l\/ls. Scava was Pet. Ex. 6 at 6.
As discussed above, l\/ls. Scava did not file such a petition to quash. The Commission
also denied the petition because Elevated Health, failed to meet and confer the
Commission’s rules Id. ln its ruling, the Commission expressly noted that counsel
identified herself as representing Sarah Scava. Id. However, at no time did any
attorney representing Elevated Health identify themselves as such to Commission
staff. Id.; Pet Ex. 1, 11 27.

These contradictory statements amount to nothing more than a self-serving
shell game and only underscore the Commission’s need for the specified testimony
from l\/ls. Scava to untangle the relationships between and among these entities
They do not support any claim that l\/ls. Scava is not the actual ClD recipient or
that Elevated Health has any basis to object on her behalf.

2. Ms. Scava Waived Any Challenges To The ClD By Failing
To Raise Them Before The FTC.

Because l\/ls. Scava did not file a petition objecting to the ClD, she has waived
any challenge. lt is a longstanding principle of law that a party must exhaust its
administrative remedies before seeking relief in court. McKart v. United States 395
U.S. 135, 193-95 (1965); E.E.O.C. u. anzens of Georgia, Inc., 603 F.2d 1062, 1063
(5th Cir. 1979) (“Generally, one Who has neglected the exhaustion of available
administrative remedies may not seek judicial relief.”). That principle applies fully

to FTC compulsory process enforcement. See, e.g., United States v. Morton Salt Co.,

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338 U.S. 632, 653-54 (1950); Arnerican Motors Corp. 1). FTC, 601 F.2d 1329, 1332-37
(6th Cir. 1979); FTC v. O’Connell Assocs., Inc., 328 F. Supp. 165, 168-70 (E.D.N.Y.
1993); FTC v. Tracers lnforrnation Specialists, Inc., No. 8:16-mc-00018-VMC-TGW,
2016 WL 3396340, at *4 (l\/.[.D. Fla. June 10, 2016). The F'l`C has provided ClD
recipients with an administrative remedy to quash or narrow the request, see 16
C.F.R. § 2.10, and the failure to use that remedy thus Waives any challenge to the
ClD. The “failure to comply with the administrative procedure provided by the
statute and the implementing regulations bars . . . assertion of substantive
objections to the ClD in court.” Tracers, 2016 WL 3896340, at *4; see also O’Connell
Assocs., Inc., 828 F-. Supp. at 170.

The petition to quash presented to Commission regarding the ClD issued to
Ms. Scava stated that it was filed by “Non-Party Elevated Health, LLC.” Pet. Ex. 5
at 1. lndeed, counsel’s cover letter asked the Commission to “accept this filing as
Non-Party Elevated Health, LLC's Petition to Quash or Limit” and then stated a
second time that it enclosed a petition “for Elevated Health, LLC.” Id. At no point
did that petition state that it was filed by or on behalf of l\/ls. Scava. Because Ms.
Scava failed to exhaust her remedies before the Commission, she may not now

assert any such objections as a defense in this ClD enforcement proceeding

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3. None Of Elevated Health’s Objections To The CID Have
Merit.

Even if l\/ls. Scava could somehow establish that Elevated Health’s petition
was filed on her behalf, this would still be unavailing because none of the claims
present any reason to deny enforcement of the ClD.

ln its petition to the Commission, Elevated Health raised a number of
objections to each specification that boil down to three basic claims: (1) the ClD is
unreasonable because Ms. Scava is no longer involved with Elevated Health or
Fully Accountable, see, e.g., Pet. Ex. 5 at 8; (2) the ClD is unreasonable because it
seeks information about entities and individuals outside of the scope of the
investigation see id. at 9, 10, 12-13, 15, 17, 18; and (3) the ClD’s requests for
testimony are unduly burdensome and Sarah Scava should be permitted to respond
in writing. See id. at 11-16, 13.

The fact that l\/ls Scava claims to be no longer involved with Elevated Health
and Fully Accountable provides no basis to refuse enforcement. At best, this claim
suggests that l\/ls. Scava lacks more recent relevant information but, in light of the
generous relevance standard afforded the Commission at this stage, the
Commission is certainly entitled to ascertain What Ms. Scava knows and the state of
her relationship to the companies This is particularly true considering counsel’s
admission that “Elevated Health was Sarah Scava’s company up and through

December 2017[,]” see Fnlly Acconntable I, Doc. 21 at 19, a period during which she

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Was also employed by Fully Accountable and Fully Accountable was subject to the
F'l'C’s original 2017 ClD.

Nor does the ClD seek information about individuals or entities outside of the
scope of the investigation As discussed above, the investigation is not limited to the
Group A Entities and Group 13 Entities, but to individuals and entities related to
them and to Fully Accountable. Pet. Ex. 3 at 5-6. ldentifying which individuals and

entities those may be, along with their relationships to Fully Accountable, is critical

 

“to the investigation,” and thus is relevant Inuention Snbmission Corp. 965 F.2d at
1090. `

Finally, the claim that l\/ls. Scava should be permitted to respond to the

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` Commission’s questions in written form is easily refuted ln similar situations i
courts have rejected requests to provide written responses in lieu of depositions See
Great American`lns. C'o. of New York v. Vegas Constr. Co., Inc., 251 F.R.l). 534, 539
(D.-Nev. 2008) (quoting Marker, 125 F.R.l). at 126). Nor is the FTC required to limit
its investigation as l\/ls. Scava insists; to the contrary, the Commission has the
discretion to deploy its investigational tools as it determines is necessary in the
course of a given inquiry. See, e.g., FTC U. Inuention Submission Corp., No.
l\/llSC.89-272(RCL), 1991 WL 47104, at "‘3 n23 (D.D.C. Feb. 14, 1991) (“Agencies l
have discretion to fashion how investigations are conducted.”), aff'd, 965 F.2d 1086 t

(D.C. Cir. 1992). l\/loreover, given the deficiencies in Fully Accountable’s original

interrogatory responses_deficiencies that already led the Commission to seek

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judicial enforcement once before_the Commission is well within its rights to
decline to proceed by written answer now.
lll. Conclusion

The Commission’s Cll)s meet the standards for enforcement of compulsory
process None of the claims asserted by Fully Accountable or l\/ls. Scava or any other
party present any reason to deny enforcement. Thus, the Court should grant the
Commission’s petition to enforce the Cle and enter an order requiring Fully

Accountable, LLC, and Sarah Scava to appear and provide testimony on the

 

specified topics within 10 days.
Respectfully submitted

ALDEN F. ABB()TT
General Counsel

 

Attorney

FEDERAL TRADE COMMISSION
600 Pennsylvania Ave., N.W.
Washington, DC 20580
Tel.: (202) 326-2043
Fax: (202) 326-2477

Dated: February l_, 2019 Email: bkappler@ftc.gov

 

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